Case 2:04-CV-027Ol-SHI\/|-tmp Document 24 Filed 06/24/05 Page 1 of 4 Page|D 29

'FlI.ED SY ___“ D.C.
IN 'I‘HE UNITED STATES DIS'I‘RICT COUR'I‘

FOR THE WESTERN DISTRICT oF TENNESSEE ,_ m
WESTERN DIVISION OSJUNZB PH J’MJ

F`SCEIFTT P,. §§ `I`£`QQLIO

CLE`{<ZE(, U.S. DSST. CT.
STEVEN SIMMONS, W.D. GF TN, i‘JiE;€v'\PHlS

Plaintiff,

VS. NO. O4-270l-MaP

MID SOUTH TRANSPORTATION
MANAGEMENT, INC. , ET AL. ,

Defendants.

 

SCHEDUL ING OR_DER

 

The court held a status conference on this matter on June
20, 2005. Participating on behalf of the plaintiff was Emma
Cole. Participating on behalf of the defendants was James Stock.

The following schedule was agreed upon.

l. Defendant MATA's motion to dismiss and any motion to
dismiss defendant Mid South Transportation wishes to
file based on the result of arbitration are to be filed

by July 20, 2005. Plaintiff’s response is due August

19, 2005.

2. The deadline for completing discovery is April 20,
2006.

3. The deadline for filing potentially dispositive motions

is May 19, 2006.

Ti@is documem entered on the docket sheet 'n om 'ance
with Rule 58 and/or 79(3) FHCP on__(@_¢zig§’

Case 2:04-CV-027Ol-SHI\/|-tmp Document 24 Filed 06/24/05 Page 2 of 4 Page|D 30

4. The parties will submit a joint proposed pretrial order
by 4:30 p.m. on August 4, 2006.

5. A pretrial conference will be held on Friday, August
ll, 2006, at 9:30 a.m.

6. The non-jury trial is set Monday, August 21, 2006, at

9:30 a.m.

Absent good cause, the scheduling dates set by this order
will not be modified or extended.

The parties should conduct inhdepth discovery consultations
prior to filing any and all discovery motions. All motions, with
the exception of motions to dismiss or motions for summary
judgment, must be accompanied by a certificate of counsel
verifying that the parties have been unable to resolve the
dispute. The proposed joint pretrial order should include any
stipulated facts, contested issues of fact and law, list of
witnesses and exhibits, and should be signed by the attorneys for
all parties.

If a jury trial has been requested, the parties should
submit proposed jury instructions to the court at the pretrial
conference. Failure to present the proposed instructions may be
deemed a waiver with regard to presentation at a later date. If

the action is to be tried by the judge, the parties will be

Case 2:04-CV-O27Ol-SHI\/|-tmp Document 24 Filed 06/24/05 Page 3 of 4 Page|D 31

required to submit proposed findings of fact and conclusions of
law in place of the proposed jury instructions.

so oRDERED this °""}day of June, 2005.

M//"'L_.

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02701 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

ESSEE

 

J ames H. Stock

WEINTRAUB STOCK & GRISHAM
1715 Aaron Brenner Dr.

Ste. 512

1\/lemphis7 TN 38120

Daniel Scott Lovett

WEINTRAUB STOCK & GRISHAM
1715 Aaron Brenner Dr.

Ste. 5 12

1\/lemphis7 TN 38120

Felicia IZZard Corbin

LAW OFFICE OF FELICIA CORBIN
2736 Warford Ave.

Ste. 102

1\/lemphis7 TN 38128

Emma Cole

LAW OFFICE OF EMMA COLE
2693 Union Ave.7 EXtd.

Ste. 200

1\/lemphis7 TN 38112

Honorable Samuel Mays
US DISTRICT COURT

